                  Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 1 of 8

AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Texas


                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )
                                                                            Civil Action No.
                                                                    )
                 Defendant, Third-party plaintiff
                                                                    )
                                v.                                  )
                      Third-party defendant
                                                                    )

                                         SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant’s name and address)




         A lawsuit has been filed against defendant                              , who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff                                  .

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:




         It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

Date:                                                                             Nathan Ochsner, Clerk of Court
                                                                             CLERK OF COURT

Date: January 22, 2021
                                                                                          Signature of Clerk or Deputy Clerk
                                                                                     s/ CSarrat
                                                                                     Signature of Clerk or Deputy Clerk
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AO 441 (Rev. 07/10) Summons on Third-Party Complaint (Page 2)

 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

              I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

              I returned the summons unexecuted because                                                                              ; or

              Other (specify):
                                                                                                                                          .

           My fees are $                          for travel and $                   for services, for a total of $                       .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:
                     Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 3 of 8

   AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           SouthernDistrict
                                                       __________   Districtofof__________
                                                                                 Texas


                                                                       )
                                Plaintiff
                                                                       )
                                   v.                                  )
                                                                               Civil Action No.
                                                                       )
                    Defendant, Third-party plaintiff
                                                                       )
                                   v.                                  )
                         Third-party defendant
                                                                       )

                                            SUMMONS ON A THIRD-PARTY COMPLAINT

   To: (Third-party defendant’s name and address)




            A lawsuit has been filed against defendant                              , who as third-party plaintiff is making
   this claim against you to pay part or all of what the defendant may owe to the plaintiff                                  .

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
   motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
   defendant’s attorney, whose name and address are:




            It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
   complaint. You also must file the answer or motion with the court and serve it on any other parties.

            A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

   Date:
                                                                                   Nathan Ochsner, Clerk of Court
                                                                                CLERK OF COURT

Date: January 22, 2021
                                                                                             Signature of Clerk or Deputy Clerk
                                                                                     s/ CSarrat
                                                                                     Signature of Clerk or Deputy Clerk
                   Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 4 of 8

AO 441 (Rev. 07/10) Summons on Third-Party Complaint (Page 2)

 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

              I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

              I returned the summons unexecuted because                                                                              ; or

              Other (specify):
                                                                                                                                          .

           My fees are $                          for travel and $                   for services, for a total of $                       .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:
                  Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 5 of 8

AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Texas


                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )
                                                                            Civil Action No.
                                                                    )
                 Defendant, Third-party plaintiff
                                                                    )
                                v.                                  )
                      Third-party defendant
                                                                    )

                                         SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant’s name and address)




         A lawsuit has been filed against defendant                              , who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff                                  .

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:




         It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

Date:
                                                                                  Nathan Ochsner, Clerk of Court
                                                                             CLERK OF COURT

Date: January 22, 2021                                                                    Signature of Clerk or Deputy Clerk
                                                                                     s/ CSarrat
                                                                                     Signature of Clerk or Deputy Clerk
                   Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 6 of 8

AO 441 (Rev. 07/10) Summons on Third-Party Complaint (Page 2)

 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

              I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

              I returned the summons unexecuted because                                                                              ; or

              Other (specify):
                                                                                                                                          .

           My fees are $                          for travel and $                   for services, for a total of $                       .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:
                   Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 7 of 8

 AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Texas


                                                                     )
                              Plaintiff
                                                                     )
                                 v.                                  )
                                                                             Civil Action No.
                                                                     )
                  Defendant, Third-party plaintiff
                                                                     )
                                 v.                                  )
                       Third-party defendant
                                                                     )

                                          SUMMONS ON A THIRD-PARTY COMPLAINT

 To: (Third-party defendant’s name and address)




          A lawsuit has been filed against defendant                              , who as third-party plaintiff is making
 this claim against you to pay part or all of what the defendant may owe to the plaintiff                                  .

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
 motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
 defendant’s attorney, whose name and address are:




          It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
 complaint. You also must file the answer or motion with the court and serve it on any other parties.

          A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

 Date:
                                                                                  Nathan
                                                                              CLERK      Ochsner, Clerk of Court
                                                                                    OF COURT


Date: January 22, 2021                                                                     Signature of Clerk or Deputy Clerk
                                                                                    s/ CSarrat
                                                                                    Signature of Clerk or Deputy Clerk
                   Case 4:21-cv-00141 Document 8 Filed on 01/22/21 in TXSD Page 8 of 8

AO 441 (Rev. 07/10) Summons on Third-Party Complaint (Page 2)

 Civil Action No.

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 was received by me on (date)                                          .

              I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

              I returned the summons unexecuted because                                                                              ; or

              Other (specify):
                                                                                                                                          .

           My fees are $                          for travel and $                   for services, for a total of $                       .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:
